        Case 3:24-cv-00444-MCR-ZCB                      Document 37-1            Filed 06/12/25
Federal Trade Commission, et al., Plaintiffs, v. Deere & Co., Defendant., Slip Copy (2025)
                                                                                                          Page 1 of 10


                                                                   on her own or take them to local technicians (Independent
                    2025 WL 1638474                                Repair Providers or “IRPs”). Id. ¶ 89. But, today, even
      Only the Westlaw citation is currently available.            Spicoli's old man's ultimate set of tools couldn't fix it.
               United States District Court,                       Instead, to diagnose and fix problems, the equipment requires
              N.D. Illinois, Western Division,                     an “interactive software” that can communicate with the
                 WESTERN DIVISION.                                 equipment's onboard ECUs. Id. ¶ 7.

        Federal Trade Commission, et al., Plaintiffs,              Deere developed such a tool, which it calls “Service
                          v.                                       ADVISOR.” Id. The software can perform diagnostic
                  Deere & Co., Defendant.                          tests, identify and clear error codes, and access Deere's
                                                                   troubleshooting database. Id. ¶ 49. The device is “critical”
                     Case No. 25-cv-50017                          in fully diagnosing problems and completing repairs. Id.
                                |                                  ¶ 51. Indeed, some repairs—what the Governments 3 call
                       Filed: 06/09/2025                           “restricted repairs”—can only be completed with the Service
                                                                   ADVISOR software. Id. ¶ 71.

         MEMORADUM OPINION AND ORDER                               But not everyone gets that Service ADVISOR tool. Id.
                                                                   ¶ 8. Deere licenses the product only to its “Authorized
Iain D. Johnston U.S. District Judge
                                                                   Dealers.” 4 Id. These Authorized Dealers sell tractors and
 *1 Sequels so rarely beat their originals that even the           parts, and provide repair services. Id. ¶ 3. Deere doesn't sell its
acclaimed Steve Martin couldn't do it on three tries. See          equipment directly to farmers. Id. ¶ 38. Though not formally
Cheaper by the Dozen II, Pink Panther II, Father of the Bride      related, “Deere appoints dealers to act as its authorized
                                                                   dealers, oversees changes to its dealers’ ownership and
II. 1 Rebooting its earlier production, Deere sought to defy
                                                                   business structures, and has contractual rights to terminate
the odds. To be sure, like nearly all sequels, Deere edited
                                                                   any Deere dealer.” Id. ¶ 3.
the dialogue and cast some new characters, giving cameos
to veteran stars like Humphrey's Executor. But ultimately the
                                                                    *2 In addition to selling and repairing equipment, the
plot felt predictable, the script derivative. Deere I received a
                                                                   Authorized Dealers also sell replacement parts, including
thumbs-down, and Deere II fares no better. The Court denies
                                                                   Deere-branded parts, which Deere Dealers are required to
the Motion for judgment on the pleadings.
                                                                   “actively and aggressively promote.” Id. ¶ 3. These Dealers
                                                                   source “the vast majority” of their parts from Deere. Id.
                                                                   ¶ 84. And, in repairing equipment, Dealers rely “almost
                              ***                                  exclusively” on Deere-branded parts. Id. ¶ 85. That's in
                                                                   contrast to many DIY Farmers and IRPs, who use generic,
Background 2                                                       cheaper alternatives. Id. ¶¶ 95–99. Deere and its Dealers reap
The “largest manufacturer of agricultural equipment in the         “massive profits” from these sales. Id. ¶ 86–87.
United States,” Deere “dominat[es]” the large tractor and
combines market. Dkt. 138 ¶ 35. This equipment, costing
hundreds of thousands of dollars, is indispensable to the
                                                                                                  ***
production of numerous staple crops. Id. ¶ 33. When
purchasing new equipment, farmers can't “calculate lifecycle       The Governments say there's a throughline between Deere's
pricing—that is fully determine in advance the total cost” for     practices: Farmers have no alternatives because of the system
repairs and parts over the machine's lifetime. Id. ¶ 75.           created by Deere, which charges supracompetitive prices
                                                                   because of the lack of any alternatives. In technologizing
Today's farm equipment relies on devices called Electronic         its equipment, Deere makes farmers reliant on Deere's own
Control Units (“ECUs”), essentially “small computers that          ADVISOR software. And, in only licensing that software to
monitor and control particular functions.” Id. ¶ 88. So,           its Authorized Dealers, Deere forces farmers to visit those
what happens when a farmer's tractors aren't working right?        shops instead of using closer, cheaper options. Once in the
Once upon a time, the farmer could repair her machines             door, Deere Dealers sell Deere parts, which are comparable


                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                                1
       Case 3:24-cv-00444-MCR-ZCB                      Document 37-1           Filed 06/12/25
Federal Trade Commission, et al., Plaintiffs, v. Deere & Co., Defendant., Slip Copy (2025)
                                                                                                        Page 2 of 10


to other brands in quality but higher in price. And those parts   from growth or development as a consequence of a superior
sales, in turn, significantly boost Deere's profits.              product, business acumen, or historic accident.” Viamedia,
                                                                  Inc. v. Comcast Corp., 951 F.3d 429, 451 (7th Cir. 2020)
In January 2025, the FTC and co-Plaintiff States, Arizona,        (citing Verizon Comms., Inc. v. Law Off. of Curtis V. Trinko,
Illinois, Michigan, Minnesota, and Wisconsin sued, alleging       LLP, 540 U.S. 398, 407 (2004)); United States v. Grinell
unlawful monopolistic behavior under Section 2 of the             Corp., 384 U.S. 563, 570–71 (1966). 5
Sherman Act, 15 U.S.C. § 2, and related state statutes. The
FTC also brings unfair competition claims under Section 5 of       *3 Before further analysis, the Court will address the
the FTC Act, 15 U.S.C. § 45(a).                                   Parties’ textual arguments. Both Deere and the Governments
                                                                  say Section 2’s text supports their positions. Compare dkt.
In 2022, a group of agricultural crop farms and farmers filed     110 at 12–13 (Deere focusing on “monopolize”) with dkt.
an MDL action in this Court. E.C.F. 22-cv-50188, dkt. 85.         138 at 10 (the Governments emphasizing “any part of”). The
That complaint centered on essentially the same underlying        Court always appreciates textual arguments. But totaling a
conduct, but invoked more legal theories. This Court denied       few words and offering no definitions, the Sherman Act's text
Deere's motion for judgment on the pleadings in that case.        provides courts with little guidance. Indeed, if it did, cases
                                                                  interpreting those sentences wouldn't fill so many reporters.
                                                                  For better or worse, the Court must look beyond the text.
Analysis
When challenging the sufficiency of a complaint, a motion
for judgment on the pleadings under Rule 12(c) is governed           (1) Monopoly Power in the Relevant Market
by the same standard as a motion to dismiss under Rule            The Court considers whether the Governments adequately
12(b)(6). Pisciotta v. Old Nat'l Bancorp., 499 F.3d 629, 633      plead (i) a cognizable aftermarket, and (ii) that Deere
(7th Cir. 2007). The complaint must contain only a “short         possesses monopoly power in that aftermarket.
and plain statement of the claim showing that the pleader
is entitled to relief.” F.R.C.P. 8(a)(2). The complaint must
give the defendant fair notice of what the claim is and the          (i) Aftermarket
grounds upon which it rests. Piscotta, 499 F.3d at 633. Factual   “The relevant market for antitrust purposes can be an
allegations must be enough to raise a right to relief above       aftermarket—where demand for a good is entirely dependent
the speculative level. Id. (citing Bell Atl. Corp. v. Twombly,    on the prior purchase of a durable good in a foremarket.”
550 U.S. 544, 555 (2007)). The court draws all reasonable         Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 976 (9th
inferences and facts in the nonmovant's favor. Wagner v.          Cir. 2023); Eastman Kodak Co. v. Image Tech. Servs., Inc.,
Teva Pharms. USA, Inc., 840 F.3d 355, 358 (7th Cir. 2016).        504 U.S. 451 (1992). The Governments allege cognizable
The movant bears the burden of establishing a complaint's         aftermarkets for “fully functional repair tools and restricted
insufficiency. Gunn v. Cont'l Cas. Co., 968 F.3d 802, 806 (7th    repair services.” Dkt. 138 at 4. A plaintiff must only plausibly
Cir. 2020).                                                       plead a market's “rough contours.” See In re Deere & Co.
                                                                  Repair Servs. Antitrust Litig., 703 F. Supp. 3d 862, 890 (N.D.
Deere argues that the Governments’ monopolization and             Ill. 2023) (“Deere MDL”).
unfair competition claims are insufficient, both factually
and legally. Deere also challenges the FTC's constitutional       Deere, like it did in its MDL motion, argues that the
structure, the States’ standing, and the timeliness of the        Governments fail to plead a Kodak-qualifying aftermarket.
States’ claims. The Court addresses each argument in turn.        Dkt. 110 at 8–11. And again, the Court “questions” whether
                                                                  Kodak even applies in this situation. Deere MDL, 703 F. Supp.
                                                                  3d at 896. “[T]he issue presented to the Supreme Court [in
   (a) Section 2 Claim                                            Kodak] was whether a defendant's lack of market power in the
Section 2 of the Sherman Antitrust Act imposes liability on       primary equipment market precludes—as a matter of law—
“[e]very person who shall monopolize ... any part of the trade    the possibility of market power in derivative aftermarkets.”
or commerce among the several states.” 15 U.S.C. § 2. A firm      Id. at 891. The Governments, however, allege that Deere is the
violates Section 2 only when it “both (1) possesses monopoly      “leading manufacturer” and holds a “dominant” position in
power in the relevant market, and (2) engages in the willful      the tractor (i.e. fore) market. Dkt. 44 ¶ 3. As the Governments
acquisition or maintenance of that power as distinguished         note, at least one other court similarly believes Kodak doesn't


               © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                             2
        Case 3:24-cv-00444-MCR-ZCB                       Document 37-1           Filed 06/12/25
Federal Trade Commission, et al., Plaintiffs, v. Deere & Co., Defendant., Slip Copy (2025)
                                                                                                          Page 3 of 10


apply in these scenarios. See Lambrix v. Tesla, Inc., 737 F.        often will repairs require Deere's ADVISOR tool? How far
Supp. 3d 822, 840 (N.D. Cal. 2024). Deere says Tesla’s just         will they need to travel to find an Authorized Dealer? How
a “single out-of-circuit district court decision.” Dkt. 149 at 5.   much extra will they need to pay for Deere parts? And, in
But Tesla is in addition to this Court's decision in the MDL        any event, “[f]rom a practical perspective, the relevance of
case, identically analyzing Kodak.                                  information costs, switching costs, and general knowledge of
                                                                    restrictions is reduced where a defendant has market power
Regardless, the Governments adequately plead a Kodak                in the foremarket.” Tesla, Inc., 737 F. Supp. 3d at 841.
aftermarket. As a refresher, under Kodak, the aftermarket           Taking the allegations as true and drawing inferences in the
analysis focuses on “two interrelated circumstances,” either        Governments’ favor, the Governments sufficiently plead a
of which can create a cognizable aftermarket. Deere MDL             cognizable aftermarket. 6
at 892. The first is a “bait-and-switch” scenario, in which a
company sells an expensive product in the foremarket and
then changes its repair policies. See id. The second “involves         (ii) Market Power
the inability of the customer to determine [the] ‘all in cost’      Next, the Court addresses whether the Governments
or ‘life cycle’ cost for the product.” Id. A change in policy is    adequately plead that Deere holds sufficient market power
“one way” to satisfy Kodak, but it's not the “exclusive means       in the identified repair tools/services markets. Deere argues
of doing so.” Id. at 899.                                           that “settled law holds that a firm” can't monopolize a
                                                                    market in which it doesn't compete.” Dkt. 110 at 11–
The Governments allege that, at the initial purchase time,          12 (citing out-of-circuit cases). Deere tried essentially the
“Deere's customers cannot calculate lifecycle pricing—that          same argument in the MDL action, saying it didn't have
is, fully determine in advance the total cost of ownership          power in the repairs market “because the [d]ealerships—
over the life of the equipment, which includes the costs of         not it—perform the repairs.” See Deere MDL at 911. First,
repairs and parts over time.” Dkt. 44 ¶ 75. Nor does Deere          without clearly defining “compete” or “participate,” Deere's
“make the lifecycle pricing information that it has available to    cited cases offer little help. To the extent that a firm must
customers.” Id. Various factors, the Governments say, make          “compete” or “participate” in a market to monopolize it,
it impossible to “estimate with certainty” repair costs and         what do those terms mean and how do they apply in this
service requirements. Id.                                           case? As discussed more below, the Governments argue
                                                                    that, through its conduct, Deere effectively participated in—
Deere says “[t]hose allegations do not plausibly demonstrate        and monopolized—the alleged markets. Perhaps discovery
a lack of ‘awareness regarding Deere's aftermarket                  shows that Deere wasn't sufficiently involved so that it
restrictions.’ ” Dkt. 149 at 4 (citing Deere MDL at 899). That's    didn't “participate” or “compete” as those terms are used in
especially the case, Deere says, because the Governments            antitrust law. But those terms suggest complex fact questions
allege that Deere's practices have “persisted ‘for decades.’        unresolvable at the pleading stage.
” Dkt. 110 at 9. Indeed, the first two words in the
Governments’ complaint are “For decades.” So, “[t]here can          Deere's cases fall short for other reasons, too. First, like this
be no customer lock-in, and no single-brand aftermarket,”           Court, the Second Circuit in Discon recognized that “due to
Deere asserts, when “customers purchased their equipment            the complexity of modern business transactions ... easy labels
with full knowledge of Deere's repair practices.” Id. Deere         do not always supply ready answers.” 93 F.3d 1055, 1059 2d.
effectively made the same argument in the MDL case, arguing         Cir. 1996) (citing Broadcast Music Inc. v. Columbia Broad.
that “everybody knew” about Deere's policies. See Deere             Sys., Inc., 441 U.S. 1, 8 (1979)). Moreover, though the Second
MDL at 894.                                                         Circuit affirmed the monopolization dismissal, it reversed on
                                                                    the “Conspiracy to Monopolize” theory. Discon, 93 F.3d at
 *4 The Court understands and recognizes Deere's argument           1062. In other words, it found a plausible Section 2 violation,
—especially in light of the Governments’ own allegations—           albeit on a different legal theory. As discussed more below,
but disagrees these allegations are dispositive of the whole        this Court doesn't believe that the Governments must include
action, entitling Deere to judgment on the pleadings. Even if       a “conspiracy” label to survive dismissal.
some farmers knew about the restrictions (a fact question),
they might not be aware of or appreciate at the purchase time       Next, Intergraph Corp. v. Intel Corp., which involved a more
how those restrictions will affect them. For example: How           distant relationship but broadly supports Deere's position, was



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                               3
        Case 3:24-cv-00444-MCR-ZCB                         Document 37-1            Filed 06/12/25
Federal Trade Commission, et al., Plaintiffs, v. Deere & Co., Defendant., Slip Copy (2025)
                                                                                                             Page 4 of 10


vacated on a preliminary injunction standard. 195 F.3d 1346            sales to Authorized Dealers (whom Deere “oversees” and
(Fed. Cir. 1999). A “likelihood of success” is a higher bar            may “terminate,” dkt. 44 at 3). But, accepting the allegations
than mere plausibility. Ushery v. Antonelli, 21-cv-611, 2022           as true, Deere “reaps massive profits” from its parts business,
U.S. Dist. LEXIS 77531, at *5 (M.D. Fla. Apr. 27, 2022)                which relies on those Authorized Dealers’ repairs. And
(“That Plaintiff may have stated a plausible claim against             because only Deere can create and license the ADVISOR tool,
one or more Defendants does not mean he has demonstrated               it entirely controls who (and how many) Dealers may perform
a likelihood of success on the merits of such a claim.”);              restricted repairs and, by extension, how much the Dealers
see also Ill. Republican Party v. Pritzker, 973 F.3d 760 (7th          can charge. All that control is irrelevant, Deere essentially
Cir. 2020). Finally, the defendant in Aquatherm Indus., Inc.           says, as long as Deere keeps its Dealers at some nominal
v. Fl. Power & Light Co., 145 F.3d 1258 (11th Cir. 1998)               distance.
bears no resemblance to Deere. In that case, a defendant
energy provider encouraged the public to use swimming pool             Maybe not in the same words or even the same number
heaters, “sole[ly] ... to increase the use of electrical power.” Id.   of words, but in substance, the Governments and the
at 1260. Unlike Deere, who allegedly benefits substantially            MDL plaintiffs advance identical theories supporting their
from and holds contractual relationships with its Dealers, the         respective claims—setting aside the fact that theories aren't
Aquatherm defendants was not involved at all in the heater             need at this stage. Both assert that Deere, via its Authorized
market. Id.                                                            Dealers, holds enough power to control prices and exclude
                                                                       competition. And they both allege that Deere financially
 *5 Those distinguishable cases aside, this Court still                benefits from its arrangements with the Dealers. So, the
believes that the “the issue is not whether Deere is a seller          Governments functionally—although not formally—allege
of Repair Services. Instead, the issue is whether Deere has            the same market participation.
monopoly power in the relevant market. This is determined
by showing that Deere could control prices or exclude                  All of this leads to a related question: What's the goal? Say the
competition.” Id. (citing Grinnell Corp., 384 U.S. at 571).            Court dismisses because the Governments’ complaint failed
Like the MDL plaintiffs, the Governments “easily” allege               to use the word “conspiracy.” Such a dismissal would surely
sufficient power. “Through its limited distribution of the             be without prejudice. See Foster v. DeLuca, 545 F.3d 582,
repair tool,” the Governments allege, “Deere controls entry            584 (7th Cir. 2008) (“[District courts] generally dismiss the
into, and limits output in, the provision of such services. Dkt.       plaintiff's complaint without prejudice and give the plaintiff
44 ¶ 11. Consequently, “Deere's dealers are able to maintain           at least one opportunity to amend her complaint.”); see also
a 100% market share and charge supracompetitive prices for             Zimmerman v. Bornick, 25 F. 4th 491, 493–94 (7th Cir.
restricted repairs.” Id.; see also id. ¶¶ 8–11, 110–12.                2022) (“What most concerns us is the district court's failure
                                                                       not to allow Zimmerman an opportunity to try again by
Nevertheless, Deere says the Court must dismiss the                    filing an amended complaint.”). Under Deere's theory, the
Complaint, because unlike the MDL plaintiffs, these                    Governments need only adopt the MDL plaintiffs’ vocabulary
Plaintiffs don't explicitly allege a conspiracy, so there's            to similarly survive a motion to dismiss. That's an illogical
no “participation.” Dkt. 110 at 13–14. The Court doesn't               result at odds with antitrust law's focus on substance over
believe magic words are relevant—let alone determinative—              form. Because the Governments, like the MDL plaintiffs,
in antitrust analysis. As the Court stressed last time, “[c]ourts      assert that Deere can control prices and exclude competition,
should look at substance over labels,” because “labels and             it adequately alleges that Deere holds market power.
antitrust law don't mix.” Deere MDL at 903 (citing Siva v.
Am. Bd. of Radiology, 38 F. 4th 569, 572 (7th Cir. 2022).
Functionally, the market power analysis focuses on whether                (2) Anticompetitive Conduct
the defendant has the “power to control prices or exclude               *6 The Court now considers whether the Governments
competition.” Grinnell Corp., 384 U.S. at 571. So long as              adequately allege that Deere engages in anticompetitive
a plaintiff plausibly alleges such control, how the defendant          conduct by limiting access to its fully functional repair tool.
exerts it isn't meaningful at this stage under Section 2.              To avoid the result in the MDL case, Deere again focuses on
                                                                       labels, contenting that the Governments must slot its theory
Defining “participate” too formally, Deere's theory isn't              into a recognized antitrust category. For the same above
persuasive. It's true that Deere leaves repair services and parts      reasons—essentially that function beats form in antitrust
                                                                       matters—the Court rejects Deere's arguments.


                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                                 4
        Case 3:24-cv-00444-MCR-ZCB                         Document 37-1            Filed 06/12/25
Federal Trade Commission, et al., Plaintiffs, v. Deere & Co., Defendant., Slip Copy (2025)
                                                                                                             Page 5 of 10



Section 2 bars monopolists from using their monopoly                  The Governments and the MDL plaintiffs allege substantively
power to foreclose competition, gain competitive advantage,           identical anticompetitive conduct. Both assert that, to fully
or destroy competitors. See Kodak, 504 U.S. at 482–83.                repair Deere equipment, farmers require the Deere ADVISOR
Courts have developed “categories,” such as “refusal to               tool. Deere, however, only makes that tool available to its
deal,” “predatory pricing,” and “tying,” to help illustrate           Authorized Dealers, forcing customers to a single source for
how monopolists unlawfully wield their power. But                     repairs. That arrangement drives Deere's profits and sustains
remember pleading “categories”—like pleading theories—                its monopoly power, while leading to higher prices and fewer
isn't required. Alioto v. Town of Lisbon, 651 F.3d 715, 721 (7th      options. On those allegations, the Court found that the MDL
Cir. 2011) (“[W]e have stated repeatedly (and frequently) that        plaintiffs plausibly alleged anticompetitive behavior. Without
a complaint need not plead legal theories...”); see Whitaker          elevating form over substance (which is inappropriate at this
v. Milwaukee County, 772 F.3d 897, 808 (7th Cir. 2014).               stage), the Court can't reach the opposite conclusion on this
“Rule 8(a) does not require plaintiffs to ‘pin’ their claim for       Motion.
relief to any particular legal theory at the pleading stage.”
Zimmerman, 25 F. 4th at 493. Indeed, even specifying an                *7 The Court rejects Deere's argument that the Governments
incorrect legal theory is not fatal. Rabe v. United Airlines, Inc.,   must slot Deere's behavior into a certain antitrust category at
636 F.3d 866, 872 (7th Cir. 2011).                                    this stage. So, it doesn't decide whether the allegations meet
                                                                      a particular definition. However, Deere seems to skip some
What's more, the Seventh Circuit explained that “[a]t bottom,         steps in the refusal to deal analysis. As a “general rule ... even
the purpose of identifying these categories ... is to help            monopolists are free to choose the parties with whom they
determine the presence or absence of harmful effects, which           will deal.” Viamedia, 951 F.3d at 454 (citing United States
are both the reason for any antitrust concern and often the           v. Colgate & Co., 250 U.S. 300, 307 (1919) (cleaned up)).
simplest element to disprove.” Viamedia, 951 F.3d at 453              First, as the Governments note, Deere might owe some duty
(citations omitted). So, though courts may start by assessing         to its farmer–customers, if not its rivals. Deere, in Reply, says
how conduct fits within a recognized category, they “should           the Governments unfairly treat the farmers as competitors
stay focused on the effect” the conduct has on competition.           for some purposes and customers for others. Perhaps. More
Id. (emphasis added); accord Duke Energy Carolinas, LLC               importantly, however, the Colgate Court qualified its general
v. NTE Carolinas II, LLC, 111 F.4th 337 (4th Cir. 2024)               rule, prefacing it with “In the absence of any purpose to
(“Section 2 focuses on anticompetitive conduct, not on court-         create or maintain a monopoly.” See Viamedia, 951 F.3d at
made subcategories.”); Deere MDL at 903 (“[L]ooking at                454 (emphasis in Viamedia) (cleaned up). In other words, if
substance over form is a consistent theme in antitrust and            the monopolist acts with the intent to maintain a monopoly,
prevents the broad prohibitions imposed by the antitrust              then the general rule doesn't apply and courts may examine
laws from being circumvented.”) (quoting Daniel A. Hanley,            the refusal to deal. The Court, at this stage, can't possibly
Per Se Illegality of Exclusive Deals and Tyings with Fair             ascertain Deere's intent in limiting its ADVISOR tool. It
Competition, 37 Berkeley Tech. L.J. 1057, 1067 n.47 (2022)).          may only accept the Governments’ version as true and make
                                                                      reasonable inferences based on it. When it does so, the
Just as a certain conduct could fit within multiple categories,       Governments sufficiently allege either via a refusal to deal
it's unsurprising that anticompetitive conduct “cannot always         theory or otherwise that Deere acts unlawfully.
be categorized” at all. Duke Energy, 111 F.4th at 354. As
the Supreme Court long ago recognized, “there is no limit to
business ingenuity and legal gymnastics.” Atl. Refining Co.
                                                                                                    ***
v. F.T.C., 381 U.S. 357, 367 (1965). “Thus, when a court is
faced with allegations of a complex or atypical exclusionary          “[E]ven after Iqbal and Twombly, the purpose of a complaint
campaign, the individual components of which do not fit               is to put the defendant on notice of the claims against it,
neatly within pre-established categories, its application of          not to prove its case.” Deere MDL at 910. (citing Bausch
such specific conduct tests would prove too rigid.” Duke              v. Stryker Corp., 630 F.3d 546, 559 (7th Cir. 2010)). Notice
Energy, 111 F.4th at 354. “[T]he scheme or conduct must be            pleading requires fair notice to defendants. It can't be
considered as alleged, not in manufactured subcategories.” Id.        reasonably argued that Deere is scratching its metaphorical
at 355.                                                               head and muttering, “I wonder what the Governments are



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                                  5
        Case 3:24-cv-00444-MCR-ZCB                         Document 37-1           Filed 06/12/25
Federal Trade Commission, et al., Plaintiffs, v. Deere & Co., Defendant., Slip Copy (2025)
                                                                                                            Page 6 of 10


complaining about?” If Deere's position is that it knows              confirmed by the Senate. 15 U.S.C. § 41. Under the statute, a
what the Governments are complaining about but that those             President may remove commissioners only for “inefficiency,
complaints are not legally cognizable, the Court disagrees, as        neglect of duty, or malfeasance.” Id. The Supreme Court
it has already found. The Court could be wrong in this regard         upheld that removal restriction in Humphrey's Executor,
but redressing any error in this regard is for either a later stage   295 U.S. 602 (1935). “Rightly or wrongly, the [Humphrey's
or a different court. The Governments likely need to sharpen          Executor] Court viewed the FTC (as it existed in 1935) as
their theories—and, of course, present admissible evidence            exercising ‘no part of the executive power.’ ” Seila Law LLC
supporting those theories—to survive summary judgment, but            v. Cons. Fin. Prot. Bureau, 591 U.S. 197, 215 (2020) (citing
the Complaint plausibly raises a Section 2 violation.                 Humphrey's, 295 U.S. at 628). Instead, the Humphrey's Court
                                                                      said the FTC was an “administrative body,” exercising only
                                                                      “quasi-legislative or quasi-judicial powers.” Seila Law, 591
   (b) FTC Act Claim                                                  U.S. at 216 (citing Humphrey's, 295 U.S. at 628).
The FTC also alleges that Deere violated Section 5(a) of
the FTC Act, prohibiting unfair methods of competition. 15            In 1973, Congress vested the FTC with more, non-legislative,
U.S.C. § 45(a). The Court found a plausible Sherman Act               non-judicial powers, allowing it to seek injunctive relief in
violation, so the FTC necessarily alleges a plausible Section         any federal court. FTC Act § 13(b), 15 U.S.C. § 53(b);
5(a) violation, too. FTC v. Actavis, 570 U.S. 136, 145 (2013)         “Section 13(b).” The ability to bring a lawsuit, the Supreme
(Section 5 “encompasses” the Sherman Act). In this case, the          Court has indicated, is a uniquely executive function. See
analyses also merge into one another, both turning on whether         United States v. Texas, 599 U.S. 670, 679 (2023) (citing
the Governments, at this stage, must slot Deere's conduct into        Buckley v. Valeo, 424 U.S. 1, 138 (1976) (“A lawsuit is
a particular category (no) and alternatively whether Deere            the ultimate remedy for a breach of the law, and it is to
may refuse to deal under the circumstances (plausibly no).            the President, and not to the Congress, that the Constitution
                                                                      entrusts the responsibility to ‘take Care that the laws be
In any event, as Deere concedes, the FTC Act is at least “in          faithfully executed.’ ”)). Over the past fifty years, the FTC has
limited respects” broader than the Sherman Act. Dkt. 110 at
                                                                      invoked its Section 13(b) powers at least hundreds of times. 8
22. As the Supreme Court explained, “[i]n a broad delegation
                                                                      All of those, Deere seems to say, were “void ab initio.” Dkt.
of power the [FTC Act] empowers the Commission, in the
                                                                      149 at 17.
first instance, to determine whether a method of competition
or the act or practice complained of is unfair.” Atl. Refining,
                                                                      In the past decade or so, the Supreme Court has held that
381 U.S. at 367. “While the final word is left to the courts,”
                                                                      the President must be able to freely remove certain agency
id.; Loper Bright Enters. v. Raimondo, 603 U.S. 369 (2024),
                                                                      officials who exercise executive power. See Free Ent. Fund v.
courts give “great weight to the Commission's conclusion.”
                                                                      Public Co. Accounting Oversight Bd., 561 U.S. 477 (2010);
Atl. Refining, 381 U.S. at 368.
                                                                      Seila Law, 591 U.S. at 216. Though nominally preserving
                                                                      Humphrey's Executor, those recent decisions have largely
The FTC adequately alleges an “unfair” competition claim,
                                                                      “repudiated almost every aspect of [it].” Seila Law, 591 U.S.
when it plausibly suggests (1) market power, (2) exercise of
                                                                      at 239 (Thomas, J., concurring). Humphrey's Executor may
that power, and (3) that anticompetitive effects result from
                                                                      not be deader than Elvis, but it seems to have at least one
that exercise. See F.T.C. v. Texaco, 393 U.S. 223, 226 (1968).
                                                                      foot in the grave. See Trump v. Wilcox, No. 24A966, 2025
In this case, the FTC alleges that Deere holds monopoly
                                                                      U.S. LEXIS 1984 (May 22, 2025) (granting stay because the
power in the repair tools and services aftermarkets, that it
                                                                      government “is likely to show” that the removal provision of
exercises that power by limiting access to repair tools and
                                                                      the NLRB—a similar agency—violates the Constitution).
services, and that higher prices and fewer options result. The
FTC further alleges that Deere's practices benefit its bottom
                                                                      But even assuming the removal restrictions are unlawful,
line. 7 So, the FTC alleges a plausible Section 5(a) violation.       Deere's argument that the proper remedy is to strike down
                                                                      Section 13(b) doesn't follow. 9 As the Governments note,
  (c) FTC's Constitutionality                                         “[s]ettled precedent ... confirms that the unlawfulness of [a]
 *8 The Court next considers whether the FTC can                      removal provision does not strip the officer of the power
constitutionally bring this suit. The FTC is (usually) led            to undertake the ... responsibilities of his office.” Collins v.
by five commissioners, all nominated by the President and             Yellin, 594 U.S. 220, 257–58 (2021). No Parties argue that the


                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                                 6
        Case 3:24-cv-00444-MCR-ZCB                      Document 37-1           Filed 06/12/25
Federal Trade Commission, et al., Plaintiffs, v. Deere & Co., Defendant., Slip Copy (2025)
                                                                                                         Page 7 of 10


Commissioners were unlawfully appointed, so “[a]lthough
the statute unconstitutionally limit[s]” the President's removal   Deere says this Court should do the same: Retain the
power, “there is no reason to regard any of the actions taken      for-cause removal restriction and merely excise the FTC's
by the [FTC] ... as void.” Id. at 257–58; see also Nat'l           Section 13(b) enforcement powers, apparently “limit[ing] the
Lab. Rels. Bd. v. Starbucks Corp., 125 F.4th 78, 87 (3d Cir.       solution to the problem.” Dkt. 110 at 27 (citing Barr, 591
2024) (“The Supreme Court instructs that where an official's       U.S. at 625). But, as the FTC notes, the Bowsher Court
removal protections are unconstitutional, he can still carry out   struck the later amendment because Congress “explicitly”
his duties, which does not hold true if his appointment was        told it do so, enacting a “fallback” provision to preserve the
unconstitutional.”).                                               original Comptroller General statute. Id. at 736. No such
                                                                   clear instruction exists in this case. It's true that Congress
 *9 And even if the removal restrictions created                   enacted a severability provision, which Deere says functions
constitutional problems, they haven't injured Deere, so Deere      as a command to strike Section 13(b). But as another court
likely wouldn't have standing to challenge them. “[A]fter          in this district observed “the constitutional problem at issue
Collins, a party challenging agency action must show not only      centers on the interaction of the Commissioners’ removal
that the removal restriction transgresses the Constitution's       protections with the subsequent litigation authority given to
separation of powers but also that the unconstitutional            the agency, not an unconstitutional amendment to an earlier
provision caused (or would cause) them harm.” Bhatti v. Fed.       law.” F.T.C. v. Walmart Inc., 664 F. Supp. 3d 808, 845 (N.D.
Hous. Fin. Agency, 97 F.4th 556, 559 (8th Cir. 2024) (citing       Ill. 2023) (rejecting an identical argument and relying on
Cmty. Fin. Servs. Ass'n of Am., Ltd. v. Consumer Fin. Prot.        Collins). “In other words, the grant of executive power to the
Bureau, 51 F.4th 616, 632 (5th Cir. 2022)); Leachco, Inc. v.       FTC, standing on its own, isn't unconstitutional: executive
Consumer Prod. Safety Comm'n, 103 F.4th 748, 756 (10th             agencies often have power to sue for penalties or injunctive
Cir. 2024); Collins, 594 U.S. at 264 (“The mere existence          relief.” Id. So, the severability clause doesn't provide any
of an unconstitutional removal provision ... generally does        guidance.
not automatically taint government action by an official
unlawfully insulated.”) (Thomas, J. concurring). In this case,     Deere also relies on Barr v. Am. Ass'n of Pl. Consultatnts, Inc.,
the FTC initially voted to commence litigation under then-         591 U.S. 631 (2020). In that case, which doesn't implicate
President Biden, and Deere doesn't assert that he disagreed        presidential powers, Congress initially enacted legislation to
with the Commissioners’ judgment. And the current FTC,             bar all robocalls. Id. at 614. In a later amendment, Congress
which believes its Commissioners are removable at-will, are        exempted robocalls that were aimed at collecting government
proceeding with this litigation—at least for now. So, Deere        debt. The Court struck down the Amendment—but not
can't challenge the removal regime because the provision           the initial statute—finding that it constituted content-based
doesn't harm it.                                                   discrimination and therefore subject to heightened scrutiny.
                                                                   In other words, unlike the Section 13(b) amendment, the
Deere didn't contend with Collins in its opening brief.            provision in Barr itself violated the Constitution.
In Reply, it proposes a conclusory distinction with no
meaningful difference, asserting that Collins doesn't apply         *10 Further, both Bowsher and Barr involved
because that case didn't involve an amendment that was “void       constitutionally infirm amendments to otherwise healthy
ab initio.” Despite Collins, Deere asks this Court to void the     legislation. So, it made sense to amputate those parts. It's
Section 13(b) amendment and thereby this action. It says two       the reverse in this case: No one questions that an agency,
cases show that's the proper remedy. In Bowsher v. Synar,          under proper removal regimes, may bring a Section 13(b)-
Congress created the Comptroller General position to assist        like enforcement action. But the FTC, Deere, and (likely) the
Congress in budgetary matters. 478 U.S. 714 (1986). Under          Supreme Court all believe that the FTC's removal structure
the governing statute, Congress retained the power to remove       is highly suspect, if not unconstitutional. So, it makes no
the Comptroller. Id. at 728. Decades later, Congress vested        sense to strike down the enforcement mechanism under these
the Comptroller with new executive powers, including the           circumstances.
“ultimate authority to determine budget cuts to be made.” Id.
at 733. The Supreme Court rejected requests to invalidate the      For the past fifty years, the FTC has brought Section 13(b)
earlier removal provision, striking down the later executive-      cases hundreds of times. Deere points to no court that found
power-conferring amendment instead.



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                              7
        Case 3:24-cv-00444-MCR-ZCB                        Document 37-1            Filed 06/12/25
Federal Trade Commission, et al., Plaintiffs, v. Deere & Co., Defendant., Slip Copy (2025)
                                                                                                             Page 8 of 10


the Section unconstitutional. The Court declines the invitation      standing to sue as parens patriae [if] the injury is one that the
to be the first.                                                     State, if it could, would likely attempt to address through its
                                                                     sovereign lawmaking powers.” LG Display Co., 665 F. 3d at
                                                                     771 (quoting Snapp, 458 U.S. at 607).
  (d) States’ Standing
Deere also contests the States’ standing, “both in their             As the States note, each of them “has enacted antitrust laws
sovereign capacities and under a parens patriae theory.” Dkt.        mirroring the federal antitrust laws.” Dkt. 138 at 28 fn.
110 at 28. In their Response, the States defend only their           7 (collecting statutes). In other words, not only could the
parens patriae standing. See dkt. 138 at 35.                         state attempt to address an antitrust injury, they did. That
                                                                     “counsels in favor of finding” that the states have parens
According to the Seventh Circuit, a state will have standing to      patriae standing. Texas v. Google LLC, No. 4:20-957, 2025
sue as parens patriae “where it can ‘articulate an interest apart    U.S. Dist. LEXIS 15071, at *58–59 (E.D. Tex. Jan. 28, 2025)
from the interests of particular private parties’ and ‘express a     (finding parens patriae standing in antitrust case). That's
quasi-sovereign interest.’ ” LG Display Co., Ltd. v. Madigan,        also why Missouri ex. rel. Koster v. Harris is inapposite. In
665 F.3d 768, 771 (7th Cir. 2011) (citing Alfred L. Snapp            that case, the States didn't sue under an antitrust theory, and
& Son, Inc. v. Puerto Rico ex rel Barez, 458 U.S. 592, 607           therefore couldn't point to their own legislative attempts to
(1982)). Understandably, Deere argues the States failed on           combat uncompetitive practices. 847 F.3d 646 (9th Cir. 2017).
both prongs of this seemingly two-part test. Dkt. 110, at 36–        In this case, all of the states have their own antitrust statutes,
37; Dkt. 149, at 25. The States primarily respond to the quasi-      indicating that they find violations harmful enough to require
sovereign interest aspect. Dkt. 138, at 35-36. As to the aspect      legislation. Deere's right that an identical antitrust statute
that the States’ interest must be apart (meaning different) from     alone can't create standing without circumventing Article III,
“the interests of particular private parties,” the States simply     but the States also include some (albeit few) allegations.
cite to Hawaii v. Standard Oil Co., 405 U.S. 251, 261 (1972),
which isn't particularly helpful in this context.                     *11 In assessing paren patriae standing, courts must
                                                                     consider the “direct and indirect effects of the alleged
If a court were to read LG Display as requiring states to show       injuries.” LG Display, 665 F.3d at 771. Accepting the
both that their interests are separate and distinct from private     States’ allegations as true and drawing inferences in their
parties (in this case, the MDL Plaintiffs) and an express quasi-     favor—as the Court must—the States plausibly allege unique
sovereign interest, Deere has a good point, particularly in light    harms sufficient to survive the pleadings stage. For example,
of the States’ weak response and minimal allegations. But the        they assert that Deere's conduct prevents farmers from
Court has a slightly different reading of LG Display because         “maximiz[ing] crop yield,” which can harm the states’ food
it specifically relies on Snapp & Son Inc. v. Puerto Rico, ex        supply, economy, and health outcomes. See dkt 44 ¶ 12; dkt.
rel. Barez, 458 U.S. 592 (1982).                                     138 at 28–29. So, those allegations, combined with their own
                                                                     statutes attempting to remedy the antitrust injuries, allow the
In Snapp, the Supreme Court ruled that for a state to bring          States to eke out standing. At later stages, the States will
a parens patriae action, “the State must articulate an interest      need to establish more. See Lujan v. Defs. of Wildlife, 504
apart from the interests of particular private parties, i.e.,        U.S. 555, 561 (1992) (“Since they are not mere pleading
the State must be more than a nominal party. The State               requirements but rather an indispensable part of the plaintiff's
must express a quasi-sovereign interest.” 458 U.S. at 607.           case, each element must be supported in the same way as any
So, these aspects—an interest apart from private parties and         other matter in which the plaintiff bears the burden of proof,
a quasi-sovereign interest—are not separate, independent             i.e., with the manner and degree of evidence required at the
requirements. Instead, the later is a way of establishing the        successive stages of the litigation.”). Deere can raise standing
former. Expressing a quasi-sovereign interest is simply a way        again at a later stage if it believes the States have failed in this
a state can show that its interests are separate and distinct from   regard.
private parties, i.e., that it's not just a nominal party.

States have quasi-sovereign interests in the “health and               (e) Statute of Limitations
well-being—both physical and economic—of its residents in            “Now is not the time” to decide statute of limitations issues.
general.” Snapp, 458 U.S. at 607. An “alleged injury to the          Deere MDL at 888 n. 20. The Seventh Circuit “applie[s] a
health and welfare of its citizens suffices to give the State        demanding standard to dismissals on timeliness grounds at the


                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                                   8
        Case 3:24-cv-00444-MCR-ZCB                       Document 37-1            Filed 06/12/25
Federal Trade Commission, et al., Plaintiffs, v. Deere & Co., Defendant., Slip Copy (2025)
                                                                                                           Page 9 of 10


pleading stage of antitrust cases, asking whether ‘the plaintiff
                                                                    The States allege that Deere continues to violate antitrust
pleads itself out of court.’ ” Vasquez v. Ind. Univ. Health,
                                                                    laws, charging supracompetitive prices and unlawfully
Inc., 40 F.4th 582, 588 (7th Cir. 2022) (citing Xechem, Inc. v.
                                                                    restricting access to repair services. Dkt. 138 at 30 (citing dkt.
Bristol-Myers Squibb Co., 372 F.3d 899, 902 (7th Cir. 2004)).
                                                                    44 ¶¶ 11, 12, 117). Assuming that's true, the States’ claims
An affirmative defense, timeliness is normally “not properly
                                                                    aren't barred, because “[e]ach discrete act with fresh adverse
resolved at the Rule 12[(c)] stage.” Vasquez, 40 F.4th at 588.
                                                                    consequences starts its own period of limitations.” Xechem,
                                                                    Inc., 372 F.3d at 902. So, the States don't plead themselves
Deere says the States’ civil penalties claims are time-barred,
                                                                    out of court, and the Court won't dismiss the claims as time-
noting that each state imposes a four (or six) year limitations
                                                                    barred. Deere is free to assert a statute of limitations defense
period. Dkt. 110 at 29. The States allege that Deere's
                                                                    later if necessary and appropriate.
monopolistic conduct has been ongoing “for decades,” so
Deere concludes that their claims are untimely. Id. Deere's
right that “[a]n antitrust cause of action accrues and the          Conclusion
statutes begin to run when a defendant commits an act that          For the reasons above, the Court denies Deere's Motion for
injures a plaintiff's business.” Id. (citing Vasquez, 40 F.4th at   judgment on the pleadings.
588). But the limitations period “runs from the most recent
injury caused by the defendants’ activities, rather than from       Entered: June 9, 2025
the violation's inception.” Xechem, Inc., 372 F. 3d at 902.
As the Xechem Court explained, “[t]hat it may be too late to
complain” about decades-old injuries, “does not imply that it       All Citations
is too late to complain about” more recent—or continuing—
ones. Id.                                                           Slip Copy, 2025 WL 1638474




                                                            Footnotes


1       But see Terminator II.

2       The Court accepts the following allegations as true to decide this Motion.

3       Unless otherwise noted, the Court refers to the FTC and the State Plaintiffs collectively as “Governments.”

4       Deere offers its “Customer Service ADVISOR,” a tool with “limited” functionalities to non-Dealers, but farmers
        and IRPs “do not consider [it] as a reasonable substitute” for the fully functional ADVISOR. See id. ¶¶ 48–54.

5       Deere asserts and the States don't contest that the States’ respective antitrust laws mirror the Sherman Act,
        so the Court doesn't separately analyze those statutes.

6       The Court folds Deere's argument that “there can be no aftermarket under Kodak where the defendant does
        not participate in the aftermarket” into the next section on aftermarket monopoly power. Both arguments
        involve what it means to “participate” in a market, so it makes sense to tackle them together.

7       Deere cites a Second Circuit Case, Off. Airline Guides, Inc. v. FTC, 630 F.2d 920 (2d Cir. 1980), that found
        no duty to deal. For the above reasons—both that the FTC doesn't need to slot its allegations into a particular
        category at this stage and that the “no duty” rule only applies “in the absence of any” anticompetitive purpose
        —the Court doesn't find this case persuasive.




                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                                9
      Case 3:24-cv-00444-MCR-ZCB                  Document 37-1           Filed 06/12/25
Federal Trade Commission, et al., Plaintiffs, v. Deere & Co., Defendant., Slip Copy (2025)
                                                                                                   Page 10 of 10


8      See, e.g., F.T.C. v. Rhinechem Corp., 459 F. Supp. 785 (N.D. Ill. 1978); F.T.C. v. Univ. Health, Inc., 938 F.2d
       1206 (11th Cir. 1991); F.T.C. v. Swedish Match, 131 F. Supp. 2d 151 (D.D.C. 2000); F.T.C. v. Pukke, 123
       F.4th 162 (4th Cir. 2024); see also FTC, Legal Library: Cases and Proceedings, FTC.gov.

9      Deere doesn't argue that the removal restrictions, on their own, are unconstitutional. Rather, it contends that
       the removal restrictions combined with the additional executive powers creates an unconstitutional product.
       Still, the underlying question remains: What's the appropriate remedy?



End of Document                                           © 2025 Thomson Reuters. No claim to original U.S. Government Works.




              © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                        10
